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 7
                                  UNITED STATES DISTRICT COURT
 8
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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10           LYNDON JACKSON,                                    CASE NO. C21-654 MJP

11                                   Plaintiff,                 MINUTE ORDER

12                   v.

13           THE BOEING COMPANY,

14                                   Defendant.

15

16           The following Minute Order is made by direction of the Court, the Honorable Marsha J.

17   Pechman, United States Senior District Judge:

18           The parties have not complied with the order directing that a joint status report by filed

19   by October 29, 2021. (Dkt. No. 19.) That order previously extended the joint status report

20   deadline by thirty days. The time for filing the joint status report is hereby extended an additional

21   thirty days from the date of this order. If the joint status report is not filed by that time, sanctions

22   may be ordered. Sanctions may include dismissal of the action without prejudice.

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     MINUTE ORDER - 1
             Case 2:21-cv-00654-MJP Document 22 Filed 11/15/21 Page 2 of 2




 1         Dated: November 15, 2021.

 2                                            Ravi Subramanian
                                              Clerk of Court
 3
                                              s/Serge Bodnarchuk
 4                                            Deputy Clerk

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     MINUTE ORDER - 2
